



CHARLES ROY WYMORE v. KAREN ROSE WYMORE


















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-363-CV



CHARLES ROY WYMORE	APPELLANT



V.



KAREN ROSE WYMORE	 APPELLEE





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FROM THE 322ND DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue.



PER CURIAM

PANEL D:	CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ.

DELIVERED: January 13, 2005

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




